                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE




                                                      Case No.

                                                      Judge




                          MOTION FOR ADMISSION PRO HAC VICE
          Pursuant to Rule 83.01 of the Local Rules of Court for the United States District Court

 Middle District of Tennessee,                               hereby moves for admission to appear

 pro hac vice in the above-captioned action as counsel for                                      .

          Pursuant to 29 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is

 true and correct:

       1.      I am a member in good standing of the [Identify United States District Court or
United States appellate court of which movant is a member]. Attached is a Certificate of Good
Standing from that court.

        2.     I am not, nor have I ever been, the subject of disciplinary proceedings by any
disciplinary authority, court, or tribunal, except as provided below:




         3.     I have not been found in contempt by any court or tribunal, except as provided
below:




         4.     I have not been sanctioned pursuant to 28 U.S.C. § 1927, except as provided
below:




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       5.     I have never been censured, suspended, disbarred, or denied admission or
readmission by any court or tribunal, except as provided below.




       6.      I have not been charged, arrested, or convicted of a criminal offense or offenses,
except as provided below:




        7.    I understand that pursuant to Local Rule 83.01(d)(1), if I am not both a member
of the Tennessee bar and admitted to the bar of this Court, local counsel must be retained.
Below is the name, address, phone number, and e-mail address of local counsel retained in this
matter:




        8.     I have read and am familiar with Local Rules of Court for the United States
District Court Middle District of Tennessee.

       9.      By seeking admission to practice before this Court, I acknowledge my
responsibility for compliance with all rules of this Court and confer disciplinary jurisdiction
upon this Court for any alleged misconduct arising in the course of the proceeding.



                                              /s/                                          Signature


 Name:
 State where admitted and State Bar Number:
 Business Address:
 Local Address [if different from above]:
 Phone:
 Email:




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                             CERTIFICATE OF SERVICE

        [Include certificate of service in compliance with Local Rule 5.01 and 5.02]




**FEE: $1 0.00 [Fee may be paid through the credit card module in ECF or payment
may be forwarded to the Clerk within 21 days of filing the motion. If forwarded to the
Clerk,
to the Clerk, U.S. District Court,                        , Nashville, TN 37203.]




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